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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             Case No.:

 CLAUDETTE PAGANO,

                Plaintiff,

 vs.

 ERIC PEKROL, individually, the CITY OF
 FORT LAUDERDALE, a Florida Municipal
 corporation, and YOLO MUSIC LAS OLAS,
 LLC, a Florida limited liability company,

                Defendants.
                                                /

                                      COMPLAINT
                                INTRODUCTORY STATEMENT

        1.      This is a civil action seeking money damages in excess of $15,000 dollars, exclusive

 of costs, interest, and attorney’s fees, against Defendant ERIC PEKROL, individually, Defendant

 CITY OF FORT LAUDERDALE, a Florida Municipal corporation, and Defendant YOLO MUSIC

 LAS OLAS, LLC, a Florida limited liability company.

        2.      This action is brought pursuant to 42 U.S.C. § 1983 and § 1988, and the First and

 Fourteenth Amendments to the United States Constitution. The United States District Court for the

 Southern District of Florida has jurisdiction of this action under 42 U.S.C. § 1983, 28 U.S.C. § 1331

 and 28 U.S.C. § 1343. Plaintiff further invokes the supplemental jurisdiction of the United States

 District Court to hear pendant State tort claims arising under State law, pursuant to 28 U.S.C.

 §1367(a).

        3.      Plaintiff has fully complied with all conditions precedent to bringing this action

 imposed by the laws of the State of Florida, and particularly by the provisions of § 768.28 of the
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 Florida Statutes.

                                             PARTIES

        4.      Plaintiff CLAUDETTE PAGANO (hereinafter “Plaintiff”) is a resident of Fort

 Lauderdale, Broward County, state of Florida.

        5.      At all times referred to herein, Defendant ERIC PEKROL [hereinafter PEKROL or

 Defendant PEKROL] was employed as a police officer for Defendant CITY OF FORT

 LAUDERDALE, and was acting under the direction and control of Defendant CITY OF FORT

 LAUDERDALE, and in such capacity as an agent, servant and employee of Defendant CITY OF

 FORT LAUDERDALE, and its police department. At the time of the incident set forth herein, and

 with the knowledge and consent of Defendant CITY OF FORT LAUDERDALE, Defendant

 PEKROL was working an off-duty detail for Defendant YOLO MUSIC LAS OLAS, LLC, a Florida

 limited liability company.

        6.      Defendant CITY OF FORT LAUDERDALE [hereinafter CITY or CITY OF FORT

 LAUDERDALE, or Defendant CITY OF FORT LAUDERDALE] is a Florida municipal

 corporation, organized and existing under the laws of the state of Florida. In this cause, the CITY

 acted through its agents, employees, and servants, including Defendant PEKROL, and others.

        7.      Defendant YOLO MUSIC LAS OLAS, LLC [hereinafter YOLO or Defendant

 YOLO], a Florida limited liability company. regularly transacting business in Fort Lauderdale,

 Broward County, state of Florida, and with a principle place of business located in Fort Lauderdale,

 Florida. At the time of the incident set forth herein, and with the knowledge and consent of

 Defendant CITY OF FORT LAUDERDALE, Defendant PEKROL was working an off-duty detail

 for YOLO, and as such, was acting as an agent, employee, or servant of Defendant YOLO MUSIC

 LAS OLAS, LLC, a Florida limited liability company.
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        8.      Plaintiff sues Defendant PEKROL in his individual capacity.

                              FACTS COMMON TO ALL COUNTS

        9.      On April 9, 2015, Plaintiff went to the Lobster Bar Sea Grille (hereinafter “Lobster

 Bar”) located at 450 E. Last Olas Boulevard, Fort Lauderdale, Broward County, state of Florida, with

 Michael L. Finestein and his wife, Colleen, as well as Ted Birch, for a belated birthday dinner and

 because Mr. Finestein wanted to thank Plaintiff for recommending a potential client to his law firm.

        10.     Plaintiff traveled to Lobster Bar with Colleen, who suggested that Plaintiff valet park

 her motor vehicle across the street at YOLO, a restaurant located on the north side of Las Olas

 Boulevard.

        11.     Plaintiff valet parked and joined her friends for food and drinks at Lobster Bar.

        12.     At all times material hereto, Plaintiff was self-employed in marketing and public

 relations, and while at Lobster Bar Plaintiff spoke with patrons and passed out flyers as a means of

 increasing interest in the scheduled grand opening of a spa the following evening in Lauderdale-by-

 the-Sea, Florida.

        13.     During a period of approximately 3-4 hours at Lobster Bar, Plaintiff mixed work with

 social activities, and had food and approximately 1.5 drinks.

        14.     Plaintiff left Lobster Bar with Mr. Finestein, and walked across the street to join

 Colleen, who was already standing outside YOLO speaking with several persons, including

 Defendant PEKROL.

        15.     Mr. Finestein did not want to drive and did not want Colleen to drive, and together

 with Plaintiff discussed transportation options such as Uber, or a taxi.

        16.     Plaintiff also did not want to drive and considered taking a Uber or taxi, or simply

 walking home, insofar as Plaintiff lived in the Rio Vista section of Fort Lauderdale, just three blocks
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 south of the New River (i.e., just south of Las Olas Boulevard).

         17.    Plaintiff provided the valet with her ticket and explained that she needed to make

 arrangements to pick up her motor vehicle in the morning.

         18.    Plaintiff requested either the return of her keys, or asked that the valet leave her keys

 with management at YOLO so Plaintiff could retrieve her vehicle in the morning.

         19.    Mr. Finestein and Colleen left, whereupon the valet refused to return Plaintiff’s keys

 or assist in making arrangements for Plaintiff to retrieve her keys in the morning, whereupon

 Plaintiff asked to speak with a manager or a police officer, and otherwise protested the conduct of

 the valet.

         20.    At all times material hereto, Defendant PEKROL worked a permanent off-duty detail

 at YOLO, and had a close working relationship with the valet staff. While working the off-duty

 detail, Defendant PEKROL was dressed in full police uniform.

         21.    In full police uniform, Defendant PEKROL witnessed Plaintiff’s protests and

 approached Plaintiff from behind and grabbed her by the arm, and physically escorted her to a nearby

 vehicle, whereupon Plaintiff was placed in the back seat.

         22.    Plaintiff was placed in flex-cuffs, after which Defendant PEKROL returned to valet

 stand and retrieved Plaintiff’s purse, the contents of which he dumped on the hood of the car.

         23.    Defendant PEKROL searched the contents of Plaintiff’s purse, whereupon Plaintiff

 was transported to jail.

         24.    Plaintiff was subsequently charged by Defendant PEKROL with the offense of

 disorderly conduct, contrary to Florida Statute §877.03. The actions of Defendant PEKROL, by

 intentionally causing the arrest of Plaintiff for the offense of disorderly conduct, were unreasonable

 and unwarranted, without legal authority, and in the absence of probable cause that Plaintiff
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 committed any criminal offense.

        25.     At all times material hereto, Defendant PEKROL knew that his sworn police reports

 would be submitted to prosecuting authorities, and relied upon by them for the filing of criminal

 charges against Plaintiff.

        26.     The police reports prepared by Defendant PEKROL for submission to prosecuting

 authorities contained false statements and material omissions necessary to a finding of probable

 cause that Plaintiff committed the offense of disorderly conduct.

        27.     The probable cause affidavit prepared by Defendant PEKROL included the false

 claim that Plaintiff “was stumbling and had difficulty maintaining her balance when she walked,”

 when, as Defendant PEKROL knew, she did not.

        28.     The probable cause affidavit prepared by Defendant PEKROL included the false

 claim that Plaintiff “indicated that she wanted to obtain her car keys so she could drive home,” when,

 as Defendant PEKROL knew, she did not.

        29.     The probable cause affidavit prepared by Defendant PEKROL included the false

 claim that Plaintiff “had a strong odor of an alcoholic beverage coming from her breath,” when, as

 Defendant PEKROL knew, she did not.

        30.     The probable cause affidavit prepared by Defendant PEKROL included the false

 claim that Plaintiff “was slurring her words,” when, as Defendant PEKROL knew, she did not.

        31.     The probable cause affidavit prepared by Defendant PEKROL included the false

 claim that Plaintiff “was irate and yelling,” when, as Defendant PEKROL knew, she did not.

        32.     The probable cause affidavit prepared by Defendant PEKROL included the false

 claim that Plaintiff “slammed her purse on the valet stand and continued screaming at everyone

 around her,” when in fact, she did not.
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         33.     The probable cause affidavit prepared by Defendant PEKROL included the (false)

 claim that “the valet employees and several customers at YOLO stopped their normal activities to

 observe” Plaintiff’s actions, but omitted the material fact that none of Plaintiff’s words constituted

 so-called “fighting words” (i.e., by their very utterance inflicted injury) or were words tending to

 incite an immediate breach of the peace (i.e., such a shouting “fire” in a crowded movie theater, or

 words likely to cause others to act with violence towards law enforcement officers, or others), and

 as such, Plaintiff words and expressive conduct were protected under the First Amendment

 regardless of whether any person “stopped their normal activities to observe,” which they did not.

         34.     The probable cause affidavit prepared by Defendant PEKROL included the claim that

 Defendant PEKROL “grabbed [Plaintiff] by the right arm and escorted her off of the property,” but

 omitted the material fact that Defendant PEKROL had no legal basis to go hands-on, or otherwise

 use force to “escort[] [Plaintiff] off the property.”

         35.     On July 8, 2016, the matter of State of Florida v. Claudette Pagano proceeded to trial

 before the Honorable Kenneth A. Gottlieb, in the County Court of the Seventeenth Judicial District,

 in and for Broward County, Florida.

         36.     At trial, only Defendant PEKROL testified.

         37.     Following the testimony of Defendant PEKROL, Judge Gottlieb granted the

 defendant (i.e., Ms. Pagano’s) motion for judgment of acquittal, and Plaintiff has never been

 convicted by any prosecuting authority of any criminal offense as a result of her arrest by Defendant

 PEKROL on April 9, 2015.

         38.     The conduct of Defendant PEKROL, as set forth herein, occurred under color of state

 law.
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                                       CAUSES OF ACTION

                              COUNT I
      FIRST AMENDMENT FREE SPEECH RETALIATION CLAIM AGAINST
   DEFENDANT PEKROL, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983

 For her cause of action against Defendant PEKROL, individually, in Count I, Plaintiff states:

        39.     Plaintiff realleges and adopts, as if fully set forth in Count I, the allegations of

 paragraphs 1 through 38.

        40.     Plaintiff’s arrest by Defendant PEKROL was in retaliation for Plaintiff’s protected

 speech and expressive conduct under the First Amendment.

        41.     The conduct of Defendant PEKROL towards Plaintiff was unreasonable under the

 Fourth Amendment and likely to deter a person of ordinary firmness from the exercise of First

 Amendment rights. The conduct of Defendant PEKROL towards Plaintiff constitutes unlawful

 retaliation in violation of Plaintiff’s clearly established rights under the First and Fourteenth

 Amendments, and 42 U.S.C. § 1983.

        42.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

 § 1983, Plaintiff suffered grievously, has been brought into public scandal, with great humiliation

 and mental suffering, including loss of business reputation/goodwill.

        43.     As a further direct and proximate result of the conduct of Defendant PEKROL,

 individually, Plaintiff suffered loss of her liberty and freedom, mental anguish, loss of capacity for

 the enjoyment of life. The losses are either permanent or continuing and Plaintiff will suffer the

 losses in the future, in violation of Plaintiff’s civil rights. Plaintiff has also agreed to pay the

 undersigned a reasonable fee for his services herein.

        WHEREFORE, Plaintiff prays:

                i.      Judgment for compensatory damages;
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                ii.     Judgment for exemplary damages;

                iii.    Cost of suit;

                iv.     Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988;

                v.      Trial by jury as to all issues so triable; and

                vi.     Such other relief as this Honorable Court may deem just and appropriate.

                               COUNT II
     PLAINTIFF’S FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
   DEFENDANT PEKROL, INDIVIDUALLY, COGNIZABLE UNDER 42 U.S.C. § 1983

 For her cause of action against Defendant PEKROL, individually, in Count II, Plaintiff states:

        44.     Plaintiff realleges and adopts, as if fully set forth in Count II, the allegations of

 paragraphs 1 through 38.

        45.     Defendant PEKROL proximately caused Plaintiff’s arrest in the absence of lawful

 authority or probable cause that Plaintiff committed any criminal offense.

        46.     The conduct of Defendant PEKROL towards Plaintiff was objectively unreasonable

 and violated Plaintiff’s clearly established rights under the Fourth Amendment and 42 U.S.C. § 1983

 to be free from arrest in the absence of probable cause.

        47.     As a direct and proximate result of the acts described above, in violation of 42 U.S.C.

 § 1983, Plaintiff suffered grievously, has been brought into public scandal, with great humiliation

 and mental suffering, including loss of business reputation/goodwill.

        48.     As a further direct and proximate result of the conduct of Defendant PEKROL,

 individually, Plaintiff suffered loss of her liberty and freedom, mental anguish, loss of capacity for

 the enjoyment of life. The losses are either permanent or continuing and Plaintiff will suffer the

 losses in the future, in violation of Plaintiff’s civil rights. Plaintiff has also agreed to pay the

 undersigned a reasonable fee for his services herein.
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        WHEREFORE, Plaintiff prays:

                i.      Judgment for compensatory damages;

                ii.     Judgment for exemplary damages;

                iii.    Cost of suit;

                iv.     Reasonable attorney’s fees, pursuant to 42 U.S.C. § 1988;

                v.      Trial by jury as to all issues so triable; and

                vi.     Such other relief as this Honorable Court may deem just and appropriate.

                                  COUNT III
               FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
                       DEFENDANT PEKROL, INDIVIDUALLY

 For her cause of action against Defendant PEKROL, individually, in Count III, Plaintiff states:

        49.     Plaintiff realleges and adopts, as if fully set forth in Count III, the allegations of

 paragraphs 1 through 38.

        50.     Defendant PEKROL proximately caused Plaintiff’s arrest in the absence of probable

 cause that Plaintiff committed any criminal offense.

        51.     The conduct of Defendant PEKROL towards Plaintiff was unreasonable and

 unwarranted and without legal authority, and constitutes false arrest/false imprisonment of Plaintiff

 under Florida law.

        52.     Additionally or alternatively to the allegations set forth herein, if the false arrest/false

 imprisonment of Plaintiff by Defendant PEKROL occurred outside the course and scope of his

 employment with Defendant CITY OF FORT LAUDERDALE or was committed in bad faith or with

 malicious purpose or in a manner exhibiting wanton and willful disregard of human rights, safety,

 or property, then the false arrest/false imprisonment of Plaintiff was committed by Defendant

 PEKROL in his individual capacity.
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          53.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation and mental suffering,

  including loss of business reputation/goodwill.

          54.     As a further direct and proximate result of the conduct of Defendant PEKROL,

  individually, Plaintiff suffered loss of her liberty and freedom, mental anguish, loss of capacity for

  the enjoyment of life. The losses are either permanent or continuing and Plaintiff will suffer the

  losses in the future, in violation of Plaintiff’s rights under Florida law.

          WHEREFORE, Plaintiff prays:

                  i.      Judgment for compensatory damages in excess of $15,000 dollars;

                  ii.     Judgment for exemplary damages;

                  iii.    Cost of suit;

                  iv.     Trial by jury as to all issues so triable; and

                  v.      Such other relief as this Honorable Court may deem just and appropriate.

                                   COUNT IV
                FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
                               DEFENDANT YOLO

  For her cause of action against Defendant YOLO, in Count IV, Plaintiff states:

          55.     Plaintiff realleges and adopts, as if fully set forth in Count IV, the allegations of

  paragraphs 1 through 38.

          56.     Defendant PEKROL proximately caused Plaintiff’s arrest in the absence of probable

  cause that Plaintiff committed any criminal offense.

          57.     The conduct of Defendant PEKROL towards Plaintiff was unreasonable and

  unwarranted and without legal authority, and constitutes false arrest/false imprisonment of Plaintiff

  under Florida law.
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            58.   The conduct of Defendant PEKROL constitutes false arrest/false imprisonment of

  Plaintiff under Florida law.

            59.   Additionally or alternatively to the allegations set forth herein, if the conduct of

  Defendant PEKROL occurred outside the course and scope of his employment for Defendant CITY

  OF FORT LAUDERDALE, the false arrest/false imprisonment of Plaintiff by Defendant PEKROL

  occurred in the course and scope of his off-duty employment for Defendant YOLO.

            60.   As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation and mental suffering,

  including loss of business reputation/goodwill.

            61.   As a further direct and proximate result of the conduct of Defendant YOLO, Plaintiff

  suffered loss of her liberty and freedom, mental anguish, loss of capacity for the enjoyment of life.

  The losses are either permanent or continuing and Plaintiff will suffer the losses in the future, in

  violation of Plaintiff’s rights under Florida law.

            WHEREFORE, Plaintiff prays:

                  i.     Judgment for compensatory damages in excess of $15,000 dollars;

                  ii.    Judgment for exemplary damages;

                  iii.   Cost of suit;

                  iv.    Trial by jury as to all issues so triable; and

                  v.     Such other relief as this Honorable Court may deem just and appropriate.

                                      COUNT V
                  FALSE ARREST/FALSE IMPRISONMENT CLAIM AGAINST
                        DEFENDANT CITY OF FORT LAUDERDALE

  For her cause of action against Defendant CITY OF FORT LAUDERDALE, in Count V, Plaintiff

  states:
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          62.     Plaintiff realleges and adopts, as if fully set forth in Count V, the allegations of

  paragraphs 1 through 38.

          63.     Defendant PEKROL proximately caused Plaintiff’s arrest in the absence of probable

  cause that Plaintiff committed any criminal offense.

          64.     The conduct of Defendant PEKROL towards Plaintiff was unreasonable and

  unwarranted and without legal authority, and constitutes false arrest/false imprisonment of Plaintiff

  under Florida law.

          65.     The conduct of Defendant PEKROL constitutes false arrest/false imprisonment of

  Plaintiff under Florida law.

          66.     Additionally or alternatively to the allegations set forth herein, if false arrest/false

  imprisonment of Plaintiff by Defendant PEKROL was not committed by Defendant PEKROL in his

  a capacity as an agent, servant, or employee of Defendant YOLO, and was not committed in bad

  faith, with malicious purposes, or a wilful or wanton disregard of human rights, safety or property,

  the false arrest/false imprisonment was committed by Defendant PEKROL in the course and scope

  of his employment for Defendant CITY OF FORT LAUDERDALE.

          67.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation and mental suffering,

  including loss of business reputation/goodwill.

          68.     As a further direct and proximate result of the conduct of Defendant CITY OF FORT

  LAUDERDALE, Plaintiff suffered loss of her liberty and freedom, mental anguish, loss of capacity

  for the enjoyment of life. The losses are either permanent or continuing and Plaintiff will suffer the

  losses in the future, in violation of Plaintiff’s rights under Florida law.

          WHEREFORE, Plaintiff prays:
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                 i.      Judgment for compensatory damages in excess of $15,000 dollars;

                 ii.     Cost of suit;

                 iii.    Trial by jury as to all issues so triable; and

                 iv.     Such other relief as this Honorable Court may deem just and appropriate.

                                  COUNT VI
               MALICIOUS PROSECUTION AGAINST DEFENDANT PEKROL

  For her cause of action against Defendant PEKROL in Count VI, Plaintiff states:

         69.     Plaintiff realleges and adopts, as if fully set forth in Count VI, the allegations of

  paragraphs 1 through 38.

         70.     No reasonably cautious police officer in the position of Defendant PEKROL would

  have believed that Plaintiff was guilty-in-fact of the crime of disorderly conduct.

         71.     Defendant PEKROL proximately caused criminal proceedings to be instituted or

  continued against Plaintiff with malice and in the absence of probable cause that Plaintiff committed

  any criminal offense by causing his police reports to be submitted to prosecuting authorities

  containing materially false statements and material omissions.

         72.     At all times material hereto, Defendant PEKROL knew that his probable cause

  affidavit would be submitted to prosecuting authorities, and would be relied upon by prosecuting

  authorities for the institution and continuation of criminal charges against Plaintiff.

         73.     The conduct of Defendant PEKROL was reckless and without regard to whether the

  institution or continuation of criminal proceedings against Plaintiff for the crime of disorderly

  conduct were justified.

         74.     The criminal proceedings instituted and/or continued by Defendant PEKROL reached

  a bona fide resolution in Plaintiff’s favor.
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         75.     As a direct and proximate result of the acts described above, Plaintiff suffered

  grievously, has been brought into public scandal, with great humiliation and mental suffering,

  including loss of business reputation/goodwill.

         76.     As a further direct and proximate result of the conduct of Defendant PEKROL,

  Plaintiff suffered mental anguish and loss of capacity for the enjoyment of life. Plaintiff also

  retained the services of a criminal defense attorney to defend herself against the charges instituted

  or continued by Defendant PEKROL, and agreed to pay a reasonable fee for his professional

  services. The losses are either permanent or continuing and Plaintiff will suffer the losses in the

  future, in violation of Plaintiff’s rights under Florida law.

         WHEREFORE, Plaintiff prays:

                 i.      Judgment for compensatory damages in excess of $15,000 dollars;

                 ii.     Judgment for exemplary damages;

                 iii.    Cost of suit;

                 iv.     Trial by jury as to all issues so triable; and

                 v.      Such other relief as this Honorable Court may deem just and appropriate.

                                    DEMAND FOR JURY TRIAL

         77.     Plaintiff demands trial by jury on all issues so triable as of right.

         DATED this       4th    day of April, 2019.

                                   By:   s/. Hugh L. Koerner
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